Case 1:21-cr-00330-JEB Document 8 Filed 05/12/21 Page1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
Plaintiff,

V. Criminal Case. No.: 21-330 (JEB)

JONATHAN J. MUNAFO,
Defendant.

 

 

ORDER

This matter having come before the Court for an arraignment, the Court has
referred the matter to a Magistrate Judge to promptly conduct a Detention Hearing.

Since the defendant is currently detained in the Orange County Jail in
Orlando, Florida, the Detention Hearing will be held remotely.

The Court ORDERS that the defendant shall not be transferred from the

Orange County Jail until the Detention Hearing before a Magistrate Judge in this

case is completed.

IT IS SO ORDERED.

HONORABI/E JAMES E. BOASBERG
United States District Judge

Date: May 12. 2021
